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                              Exhibit 7
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                     Tamar Lusztig
                     Associate
                     New York
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 Overview

 Tamar Lusztig represents plaintiffs and defendants at trial and on appeal in federal and state courts
 across the country. She maintains a diverse practice, advising individuals and corporate clients in a
 variety of areas including intellectual property, contract disputes, employment disputes, products liability,
 and other high-stakes, complex cases.


 At a young age, Lusztig has amassed an impressive docket of high profile cases, often facing off – and
 prevailing – against opposing lawyers with twice her experience. Lusztig’s clients and colleagues look to
 her for her strategic acumen, judgment, and composure under pressure to help secure victory in bet-the-
 company cases. Most recently, that has included:

 A win for a research hospital in a licensing dispute with a major international pharmaceutical company.
 Lusztig cross examined each fact witness defendant presented at arbitration, obtaining testimony that
 resulted in victory for her client.
 A patent infringement case against AT&T over pioneering Internet technology invented by Lusztig’s client.
 Lusztig briefed and successfully argued multiple motions, including a critical claim construction motion in
 which the Court adopted all of her client’s positions. This case settled on confidential terms.
 Defending NYU Law Review’s diversity policies against FASORP, a Texas-based organization that claims
 the university discriminates against white men. Read Law360’s in-depth coverage of Lusztig’s defense
 here (subscription only).
 Facing off against international cosmetics behemoth L’Oréal over its infringement of Lusztig’s clients’
 patented cosmetics technology. This case is in early stages. Read more about it here.
 Representing plaintiffs in bellwether cases in the In re General Motors LLC Ignition Switch multi-district
 litigation, currently pending in New York federal court.

 Lusztig takes seriously her commitment to representing all people who seek justice, no matter what their
 economic status. As such, she recently represented pro bono a former prisoner in a Section 1983 case
 arising out of an illegal strip search. In this case, key admissions Lusztig obtained in defendants’
 depositions led to a favorable settlement for her client just before trial.


 Lusztig is admitted to practice in New York, and has appeared and argued in a number of federal and
 state courts, including in California, Connecticut, Delaware, Florida, Georgia, Illinois, Kentucky, Louisiana,
 Mississippi, New Jersey, New York, Pennsylvania, Texas, and Washington, D.C.




 Education

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 Columbia Law School (J.D.)
 University of Massachusetts, Amherst (B.A.)




 Judicial Clerkship

 Law Clerk to the Honorable Louis L. Stanton, United States District Court for the Southern District of New
 York




 Honors and Distinctions

 James Kent Scholar


 Harlan Fiske Stone Scholar


 Editor-in-Chief, Columbia Journal of Tax Law




 Publications

 Deducting the Cost of Sex Reassignment Surgery: How O’Donnabhain v. Commissioner Can Help Us
 Make Sense of the Medical Expense Deduction, 3 Colum. J. Tax L. 86 (2012)




 Professional Associations and Memberships

 State of New York


 U.S. Court of Appeals for the Federal Circuit


 U.S. Court of Appeals for the Second Circuit


 U.S. District Court for the Southern District of New York


 U.S. District Court for the Eastern District of New York


 U.S. District Court for the Eastern District of Texas


 Board Member, The Bushwick Starr




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